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       District 2

    Population Statistics                      Ethnicity                    Voter Statistics

Town of Boston                   8,023   White                  78,262   Registered Voters     53,821
Town of Brant                    2,065   % White               93.67%
Town of Collins                  6,601   Black                   1,492   Democrats             20,581
Town of Concord                  8,494   % Black                1.79%    Republicans           18,177
Town of Eden                     7,688   American Indian         2,310   Conservatives          1,995
Town of Evans                   16,356   % American Indian      2.76%    Working Families         307
Town of Hamburg                 28,967   Asian                     290   Independence           2,953
Town of North Collins            3,523   % Asian                0.35%    Green                    101
Cattaraugus Reservation          1,833                                   Other                    649
                                         Hispanic Origin         1,788   Blank                  9,058
Total Population                83,550   % Hispanic Origin      2.14%
Deviation                            1                                   Male                  25,619
% Deviation                    0.00001   Black 18+               1,375   Female                28,202
                                         % Black 18+            2.12%
Age 18+                         64,739   Hispanic Origin 18+     1,204   Age 18 - 24            3,987
                                         % Hispanic 18+         1.86%    Age 25 - 34            7,079
                                                                         Age 35 - 40            4,960
                                                                         Age 41 - 45            5,104
                                                                         Age 46 - 54           10,840
                                                                         Age 55 - 61            7,518
                                                                         Age 62+               14,333

                                                                         Federal Voters           72
                                                                         Military Voters         110
                                                                         Disabled                432
                                                                         Nursing Home             56

                                                                         Voted 2007 Election   25,284
                                                                         Voted 2009 Election   19,769
